             Case 23-21446-CMB              Doc 70         Filed 04/08/24 Entered 04/08/24 10:29:12                        Desc Main
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Fill in this information to identify your case:

Debtor 1                 Daniel J. Aubel
                         First Name               Middle Name                Last Name

Debtor 2
(Spouse if, filing)      First Name               Middle Name                Last Name


United States Bankruptcy Court for the:     WESTERN DISTRICT OF PENNSYLVANIA

Case number           23-21446-JCM
(if known)
                                                                                                                      Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                             12/15


If you are an individual filing under chapter 7, you must fill out this form if:
 creditors have claims secured by your property, or
 you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?


   Creditor's         Borough of Avalon                          Surrender the property.                            No
   name:                                                         Retain the property and redeem it.
                                                                 Retain the property and enter into a               Yes
   Description of       111 Marie Avenue Pittsburgh,                Reaffirmation Agreement.
   property             PA 15202 Allegheny County                Retain the property and [explain]:
   securing debt:                                                 Pay installment payments when due


   Creditor's         Borough of Avalon                          Surrender the property.                            No
   name:                                                         Retain the property and redeem it.
                                                                 Retain the property and enter into a               Yes
   Description of       111 Marie Avenue Pittsburgh,                Reaffirmation Agreement.
   property             PA 15202 Allegheny County                Retain the property and [explain]:
   securing debt:                                                 Pay installment payments when due


   Creditor's         County of Allegheny                        Surrender the property.                            No
   name:                                                         Retain the property and redeem it.
                                                                 Retain the property and enter into a               Yes
   Description of       111 Marie Avenue Pittsburgh,                Reaffirmation Agreement.
   property             PA 15202 Allegheny County                Retain the property and [explain]:
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Debtor 1    Daniel J. Aubel                                                                Case number (if known)    23-21446-JCM

   securing debt:                                              Pay installment payments when due


   Creditor's   Deutsche Bank, National Trust                  Surrender the property.                                  No
   name:        Company                                        Retain the property and redeem it.
                                                                                                                         Yes
                                                               Retain the property and enter into a
   Description of   111 Marie Avenue Pittsburgh,                  Reaffirmation Agreement.
   property         PA 15202 Allegheny County                  Retain the property and [explain]:
   securing debt:                                              Pay installment payments when due


   Creditor's   Northgate SD                                   Surrender the property.                                  No
   name:                                                       Retain the property and redeem it.
                                                               Retain the property and enter into a                     Yes
   Description of   111 Marie Avenue Pittsburgh,                  Reaffirmation Agreement.
   property         PA 15202 Allegheny County                  Retain the property and [explain]:
   securing debt:                                              Pay installment payments when due


   Creditor's   West View Water Authority                      Surrender the property.                                  No
   name:                                                       Retain the property and redeem it.
                                                               Retain the property and enter into a                     Yes
   Description of   111 Marie Avenue Pittsburgh,                  Reaffirmation Agreement.
   property         PA 15202 Allegheny County                  Retain the property and [explain]:
   securing debt:                                              Pay installment payments when due

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases                                                                    Will the lease be assumed?

Lessor's name:                                                                                                       No
Description of leased
Property:                                                                                                            Yes

Lessor's name:                                                                                                       No
Description of leased
Property:                                                                                                            Yes

Lessor's name:                                                                                                       No
Description of leased
Property:                                                                                                            Yes

Lessor's name:                                                                                                       No
Description of leased
Property:                                                                                                            Yes

Lessor's name:                                                                                                       No
Description of leased
Property:                                                                                                            Yes

Lessor's name:                                                                                                       No


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Description of leased                                                                                             Yes
Property:

Lessor's name:                                                                                                    No
Description of leased
Property:                                                                                                         Yes

Part 3:     Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

X    /s/ Daniel J. Aubel                                               X
     Daniel J. Aubel                                                       Signature of Debtor 2
     Signature of Debtor 1

     Date       April 8, 2024                                          Date




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